            Case 22-40236                Doc 8         Filed 04/01/22 Entered 04/02/22 00:22:52                                     Desc Imaged
                                                       Certificate of Notice Page 1 of 5
                                                              United States Bankruptcy Court
                                                                District of Massachusetts
In re:                                                                                                                 Case No. 22-40236-edk
Ralph D. Celentano                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0101-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 30, 2022                                               Form ID: 309A                                                             Total Noticed: 24
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 01, 2022:
Recip ID                   Recipient Name and Address
db                     +   Ralph D. Celentano, 10 Racicot Avenue, Apt 1R, Webster, MA 01570-1749
aty                    +   Peter M. Daigle, The Law Office of Peter M. Daigle, P. C., 1550 Falmouth Road, Suite 10, Centerville, MA 02632-2938
20678482               +   Karicha M. Crespo, 12 Burton Street, Apt 3, Worcester, MA 01607-1080
20678485               +   Mikhail Novikov, 318 Main Street, Suite 165, Northborough, MA 01532-3609
20678486               +   Saint Vincent, PO Box 3385, Boston, MA 02241-3385
20678493               +   TD Bank USA, N.A., c/o Law Offices of Howard Lee Schiff, PC, PO Box 280245, East Hartford, CT 06128-0245

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: BJGMARSH.COM
                                                                                        Mar 31 2022 02:08:00      Janice G Marsh, Janice G. Marsh, LLC, 210 Park
                                                                                                                  Avenue, No. 356, Worcester, MA 01609-2246
smg                    + Email/Text: duabankruptcy@detma.org
                                                                                        Mar 30 2022 22:04:00      CHIEF COUNSEL, LEGAL DEPARTMENT,
                                                                                                                  DEPARTMENT OF UNEMPLOYMENT
                                                                                                                  ASSISTANCE, COMMONWEALTH OF
                                                                                                                  MASSACHUSETTS, 19 STANIFORD
                                                                                                                  STREET,1ST FLOOR, Boston, MA 02114-2502
smg                        EDI: MASSDOR
                                                                                        Mar 31 2022 02:08:00      MASS DEPT OF REVENUE, BANKRUPTCY
                                                                                                                  UNIT, PO BOX 9564, Boston, MA 02114-9564
ust                    + Email/Text: USTPRegion01.WO.ECF@usdoj.gov
                                                                                        Mar 30 2022 22:04:04      Richard King, Office of US. Trustee, 446 Main
                                                                                                                  Street, 14th Floor, Worcester, MA 01608-2361
20678478                   EDI: BANKAMER2.COM
                                                                                        Mar 31 2022 02:08:00      Bank of America, PO Box 15726, Wilmington, DE
                                                                                                                  19886
20678479                   EDI: BANKAMER.COM
                                                                                        Mar 31 2022 02:08:00      Bank of America, PO Box 982236, El Paso, TX
                                                                                                                  79998
20678480                   Email/Text: bankruptcy@dcu.org
                                                                                        Mar 30 2022 22:04:00      Digital Federal Credit Union, Attn: Bankruptcy,
                                                                                                                  PO Box 9130, Marlborough, MA 01752
20678481                   Email/Text: bankruptcy@dcu.org
                                                                                        Mar 30 2022 22:04:00      Digital Federal Credit Union, 220 Donald Lynch
                                                                                                                  Blvd, Marlborough, MA 01752
20678476               + EDI: IRS.COM
                                                                                        Mar 31 2022 02:08:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Philadelphia, PA 19101-7346
20678484               + Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                                        Mar 30 2022 22:04:00      Key Bank, 4910 Tiedeman Rd, Brooklyn, OH
                                                                                                                  44144-2338
20678483               + Email/Text: key_bankruptcy_ebnc@keybank.com
                                                                                        Mar 30 2022 22:04:00      Key Bank, Attn: Bankruptcy, Oh-01-51-0622 4910
                                                                                                                  Tiedman Rd., Brooklyn, OH 44144-2338
20678477               + EDI: MASSDOR
                                                                                        Mar 31 2022 02:08:00      Massachusetts Department of Revenue,
                                                                                                                  Bankruptcy Unit, P.O. Box 7090, Boston, MA
                                                                                                                  02204-7090
20678487               + Email/Text: BAN5620@UCBINC.COM
                                                                                        Mar 30 2022 22:04:00      St. Vincent Hospital, c/o United Collection
                                                                                                                  Bureau, Inc., 5620 Southwyck Blvd., Toledo, OH
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District/off: 0101-4                                              User: admin                                                             Page 2 of 2
Date Rcvd: Mar 30, 2022                                           Form ID: 309A                                                         Total Noticed: 24
                                                                                                            43614-1501
20678489              + EDI: RMSC.COM
                                                                                   Mar 31 2022 02:08:00     Synchrony/PayPal Credit, PO Box 965005,
                                                                                                            Orlando, FL 32896-5005
20678488              + EDI: RMSC.COM
                                                                                   Mar 31 2022 02:08:00     Synchrony/PayPal Credit, Attn: Bankruptcy, PO
                                                                                                            Box 965060, Orlando, FL 32896-5060
20678492                 EDI: TDBANKNORTH.COM
                                                                                   Mar 31 2022 02:08:00     TD Bank, PO Box 1377, Lewiston, ME 04243
20678493              + Email/Text: bankruptcy@hlschiffpc.com
                                                                                   Mar 30 2022 22:04:00     TD Bank USA, N.A., c/o Law Offices of Howard
                                                                                                            Lee Schiff, PC, PO Box 280245, East Hartford,
                                                                                                            CT 06128-0245
20678490              + EDI: WTRRNBANK.COM
                                                                                   Mar 31 2022 02:08:00     Target, PO Box 673, Minneapolis, MN
                                                                                                            55440-0673
20678491              + EDI: WTRRNBANK.COM
                                                                                   Mar 31 2022 02:08:00     Target/ TD Bank, c/o Financial & Retail Srvs,
                                                                                                            Mailstop BT POB 9475, Minneapolis, MN
                                                                                                            55440-9475

TOTAL: 19


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 01, 2022                                        Signature:           /s/Joseph Speetjens
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Information to identify the case:

Debtor 1:
                      Ralph D. Celentano                                                    Social Security number or ITIN:   xxx−xx−5713
                                                                                            EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                                   Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                                         EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of Massachusetts                            Date case filed for chapter:         7     3/30/22

Case number:           22−40236

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case           10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected through
PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                                 About Debtor 1:                                                 About Debtor 2:

1.        Debtor's full name                     Ralph D. Celentano

2.        All other names used in the
          last 8 years

3.      Address                                  10 Racicot Avenue, Apt 1R
                                                 Webster, MA 01570

4.      Debtor's attorney                        Peter M. Daigle                                                 Contact phone (508) 771−7444
                                                 The Law Office of Peter M. Daigle, P. C.
        Name and address                         1550 Falmouth Road                                              Email: pmdaigleesq@yahoo.com
                                                 Suite 10
                                                 Centerville, MA 02632

5.      Bankruptcy trustee                       Janice G Marsh                                                  Contact phone 978−621−4296
                                                 Janice G. Marsh, LLC
        Name and address                         210 Park Avenue                                                 Email: jgmarsh@janicegmarshllc.com
                                                 No. 356
                                                 Worcester, MA 01609
                                                                                                                           For more information, see page 2>
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                             page 1
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Debtor Ralph D. Celentano                                                                                  Case number 22−40236 −edk
6. Bankruptcy clerk's office                    U. S. Bankruptcy Court                                Hours open: Monday−Friday
                                                595 Main Street                                       8:30am−5:00pm
    Documents in this case may be filed at this Worcester, MA 01608
    address. You may inspect all records filed                                                        Contact phone 508−770−8900
    in this case at this office or online at
    pacer.uscourts.gov.
                                                                                                      Date: 3/30/22

7. Meeting of creditors                          May 4, 2022 at 09:30 AM                              Location:

    Debtors must attend the meeting to be        The meeting may be continued or                      The meeting will be held
    questioned under oath. In a joint case,      adjourned to a later date. If so, the                TELEPHONICALLY
    both spouses must attend. Creditors may
    attend, but are not required to do so.       date will be on the court docket.
The dial−in number and participant code for the telephonic section 341 meeting of creditors will be posted to the docket
             within 14 days prior to the meeting. You may also contact the trustee for dial−in information.

8. Presumption of abuse                          The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                     File by the deadline to object to Filing
                                                 discharge or to challenge whether deadline:
    Papers and any required fee must be          certain debts are dischargeable: 7/5/22
    received by the bankruptcy clerk's office
    no later than the deadlines listed.
                                                 You must file a complaint:

                                                          • if you assert that the debtor is not
                                                            entitled to receive a discharge of
                                                            any debts under any of the
                                                            subdivisions of 11 U.S.C. §
                                                            727(a)(2) through (7), or
                                                          • if you want to have a debt
                                                            excepted from discharge under
                                                            11 U.S.C. § 523(a)(2), (4) or (6).

                                                 You must file a motion:

                                                          • if you assert that the discharge
                                                            should be denied under §
                                                            727(a)(8) or (9).


                                                 Deadline to object to exemptions:                    Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain              conclusion of the meeting of creditors
                                                 property as exempt. If you believe that the
                                                 law does not authorize an exemption
                                                 claimed, you may file an objection.


10. Deadline to file §503(b)(9)                  Requests under Bankruptcy Code                       Filing deadline: 60 days from the first
    requests:                                    §503(b)(9)(goods sold within twenty(20)              date set for the meeting of creditors
                                                 days of bankruptcy) must be filed in the
                                                 Bankruptcy Clerk's office.


11. Proof of claim                               For holder(s) of a claim secured by a                Filing deadline: 70 days from the
                                                 security interest in the debtor's principal          Filing Date of the Petition
                                                 residence, pursuant to Rule 3002(c)7(A):


                                                 For creditors other than those holding a Claim Secured by a Security Interest in the
                                                 Debtor's Principal Residence: A date has not been set yet. No property appears to be
                                                 available to pay creditors. Therefore, please do not file a proof of claim now. If it later
                                                 appears that assets are available to pay creditors, the clerk will send you another notice
                                                 telling you that you may file a proof of claim and stating the deadline.
                                                                                                             For more information, see page 3>
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                               page 2
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Debtor Ralph D. Celentano                                                                                  Case number 22−40236 −edk
12. Discharge of Debts                        The debtor is seeking a discharge of most debts, which may include your debt. A
                                              discharge means that you may never try to collect the debt from the debtor. If you
                                              believe that the debtor is not entitled to receive a discharge under Bankruptcy Code
                                              §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code
                                              §523(a)(2),(4), or (6), you must file a complaint or a motion if you assert the discharge
                                              should be denied under §727(a)(8) or (a)(9) in the bankruptcy clerk's office by the
                                              "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain
                                              Debts" listed on line 9 of this form. The bankruptcy clerk's office must receive the
                                              complaint or motion and any required filing fee by that deadline.

13. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

14. Financial Management Training Deadline for debtor to attend a financial management training program
    Program Deadline for the Debtor approved by the United States Trustee: Sixty (60) days from the first date set
                                    for the meeting of creditors. The discharge will not enter if the debtor fails to attend
                                    a financial management−training program approved by the United States Trustee or if
                                    the debtor attends such training and fails to file a certificate of completion with the
                                    U.S. Bankruptcy Court. The training is in addition to the pre−bankruptcy counseling
                                    requirement. A list of approved courses may be obtained from the United States
                                    Trustee or from the court's website at www.mab.uscourts.gov.

15. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              pacer.uscourts.gov. If you believe that the law does not authorize an exemption that
                                              the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                              receive the objection by the deadline to object to exemptions in line 9.

16. Abandonment of Estate Property Notice is hereby given that any creditor or other interested party who wishes to
                                   receive notice of the estate representative's intention to abandon property of the
                                   estate pursuant to 11 U.S.C. §554(a) must file with the Court and serve upon the
                                   estate representative and the United States trustee a written request for such notice
                                   within fourteen (14) days from the date first scheduled for the meeting of creditors.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                          page 3
